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UNITED STATES DISTRICT COURT l B
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NORTHERN DISTRIC'I` OF CALIFORNIA

y SAWCICQ?IVIS§T) OZGMISC

John J. Hurry and Justine Hurry, as husband and ) Case NO
Wife; Investment Services Corporation, an ) `

Arizona Corporation, BRICFM LLC d/b/a ) (D. ATiZ- NO- 14“CV-04420-NC)
Corner of Paradise Ice Cream Store, a California ) NOTICE OF MOTION AND MOTION TO
le“ed habth Company’ ) QUASH SUBPOENA ISSUED FROM A
plaintiffs ) CIVIL CASE PENDING BEFORE THE
’ ) UNITED sTA'rEs I)ISTRICT cOURT FOR
VS ) THE DISTRICT 0F ARIZONA ANI)
` ) SERVED 0N NoN-PARTY JOURNALlsT

Financial Industry Regulatory Authority, lnc., ) WILLIAM MEAGHER
) Hearing Date:

Defendant. § Hearing Time;

)

 

 

MOTION TO QUASl-I SUBPOENA

Case No.
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TO ALL PARTIES AND THEIR ATTORNEYS OF REC(}RD:

PLEASE TAKE NOTICE that on April 5, 2017, at 9.00 am, or as soon thereafter as counsel
may be heard in the San Francisco Courthouse of the above-captioned Court, located at 450 Golden
Gate Avenue, San Francisco, California 94102, non-partyjoumalist William l\/Ieagher Will and
hereby does move this Court to quash a Subpoena (the “Subpoena”) issued in an ongoing action
before the United States District Court for the District of Arizona and served on Mr. l\/Ieagher by
counsel for John I-lurry, Justine Hurry, Investment Services Corporation, and BRICFM LLC
(collectively “Plaintiffs”). The Subpoena seeks to compel l\/Ir. Meagher to appear for a deposition
in San Francisco, California, at 9:00 a.m. on March 1, 2017, and to produce at that time
unpublished documents created in the course of Mr. Meagher’s newsgathering activities.

As set forth in more detail in the attached Memorandum of Points and Authorities,
Plaintiffs’ Subpoena should be quashed for two reasons. First, Plaintiffs cannot compel
Mr. Meagher to testify because California’s reporters’ shield law provides Mr. Meagher with an
absolute immunity against being found in contempt for refusing to reveal the identity of his
confidential sources or disclose unpublished information acquired in connection With
newsgathering activities. See Cal. Const. art. l, § 2(b) and Cal. Evid. Code § 1070 (collectively, the
“California Shield Law”). In addition, the qualified federal reporters" privilege established under
the First Amendment to' the United States Constitution and the California State Constitution
independently protects Mr. l\/Ieagher from being compelled to disclose the information sought by
the Subpoena.

This Motion is based on this Notice, the Memorandum of Points and Authorities, and the
declarations of William l\/leagher and John l\/I. Browning, all matters of which this Court may take
judicial notice, including filings in Hurry v. Financicrl Indusfry Regulatory Authorily, No. CV-14-
02490-PHX-ROS (D. Ariz) (the "'Arizona Action”), the files and records in this action, and on such

other argument as may be heard by this Court.

 

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Dated: February 28, 2017

DAvls WRlGHT TREMAINE LLP

THOMAS R BURKE

ELIZABETI-l .MCNAMA (pro hac vice forthcoming)
JOHN M/(AWNING (pr“j) a vice forthcoming)

By: JR £""-/ \/(f

Thomas R. Burke

 

Attorneys for Non-Party Joumalist William Meagher

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MEMORANDUM OF POINTS AND AUTHORITIES

l. SUMMARY OF ARGUMENT

The Subpoena represents an impermissible intrusion upon Mr. Meagher’s right to Safeguard
the anonymity of his sources and maintain the confidentiality of his unpublished journalistic work
product ln his capacity as an investigative joumalist, Mr. Meagher wrote a series of articles for
The Deal Pipeiine, a financial news journal, between 2013 and 2015. These articles reported on
investigations by government regulators into whether Mr. Hurry’s stock brokerage firrn, Scottsdale
Capital Advisors Corp. (“Scottsdale”), bore any responsibility for a massive stock market fraud
perpetrated by its clients that cost investors tens of millions of dollars. In the course of researching
his articles, Mr. Meagher received credible information from a confidential source(s) concerning
the ongoing investigation and revealing details about Scottsdale’s relationship with the eff-shore
clients that carried out the stock fraud. There was a significant and self-evident public interest in
Mr. Meagher’s reporting on Scottsdale’s involvement in financial fraud and that public interest
encompassed the publication of the information entrusted to Mr. Meagher by his confidential
source(s).

Nearly three and a half years after the first article was published, Plaintiffs seek to compel
Mr. l\/Ieagher into disclosing the identities of his sources and handing over any records of their
communications ln the Arizona Action that gave rise to the Subpoena, Plaintiffs are prosecuting
two state law civil claims against the Financial industry Regulatory Authority (“FINRA”), which
both boil down to Plaintiffs’ contention that FINRA improperly acted as Mr. Meagher’s
confidential source while investigating _Scottsdale and defamed Plaintiffs by leaking false
information about the extent of Scottsdale’s involvement in the stock market fraud committed by its
clients It is evident from all that has transpired that Plaintif`fs have one and only one goal from the
issuance of this Subpoena: to force Mr. Meagher to identify whether FINRA was his confidential
source and to obtain other information that might be useful in making a case against FINRA or
others. Plaintiffs’ determination to intrude upon Mr. Meagher’s reporting is confirmed by their
concurrent document requests, which call for unpublished records of “communications between

[I\/Ir. Meagher] and any source of information related to PLAINTIFFS” for a series of four articles

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reporting on Scottsdale’s involvement in various fraudulent schemes (the “Articles”). Although
Mr. Meagher is not a named party to the Arizona Action, the Subpoena is part of a wider campaign
of litigation gamesmanship against l\/Ir. Meagher, which has saddled Mr. Meagher and his
employer, The Deal LLC (the “Deal”), with the considerable expense of defending meritless
lawsuits in New York and New Hampshire.

However, the law prohibits Plaintiffs from forcing Mr. Meagher to submit to the
Subpoena’s demands that he divulge confidential information gathered in the course of researching
the Articles. The California Supreme Court has recognized the strong public interest reporters have
in protecting the anonymity of their confidential sources:

Without an unfettered press, citizens would be far less able to make informed

political, social, and economic choices But the press’ fi.lnction as a vital source

of information is Weakened whenever the ability of journalists to gather news is

impaired Compelling a reporter to disclose the identity of a source may

significantly interfere with this news gathering ability; journalists frequently

depend on informants to gather news, and confidentiality is often essential to

establishing a relationship with an informant
Milcheil v. Saperior CI., 37 Cal. 3d 268, 274-75 (1984) (qaoting Zerilli v. Smith, 656
F.2d 705, 710-1 1 (D.C. Cir. 1981)). Put another way, “[c]ompelled disclosure of
confidential sources unquestionably threatens a journalist’s ability to secure information
that is made available to him only on a confidential basis The deterrent effect such
disclosure is likely to have upon future ‘undercover’ investigative reporting, the
dividends of which are revealed in articles such as [these] threatens freedom of the press
and the public’s need to be informed.” Id. at 275 (qao!ing Baker v. F. &. F. Inv., 470
F.2d 778, 782 (2d Cir. 1972)). ln light of these prevailing interests, California law
i‘provides an absolute rather than a qualified immunity” against compelled disclosure by
a non-party journalist in a civil action. N. Y. Times v. Super'ior Ci., 51 Cal. 3d 453, 461
(1990).

 

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Ultimately, Mr. Meagher’s interest in protecting his confidential sources and safeguarding
his unpublished newsgathering materials requires the Subpoena to be quashed. As a threshold
matter, California state law applies because state law supplies the exclusive rule of decision for
Plaintiffs’ civil claims in the Arizona Action and because California has the greatest interest in
protecting its journalists. California law provides two independent grounds for quashing the
Subpoena. First, Mr. Meagher is entitled to the protections of the California Shield Law, which
confers upon non-party journalists “virtually absolute protection against compelled disclosure” in a
civil action. Mitcheil, 37 Cal. 3d at 274. Second, Mr. Meagher also enjoys a distinct constitutional
“qualified privilege to withhold disclosure of the identity of confidential sources and of
unpublished information supplied by such sources,” which Plaintiffs are unable to overcome. Ia’. at
279.

For these reasons, which are set forth in greater detail below, Mr. Meagher requests that this
Court quash the Subpoena served on him and release him from any obligation to submit testimony
about the Articles for use in the Arizona Action.

II. FACTUAL STATEMENT

A. The Articles and Mr. Meagher’s Related Journalistic Activities

Mr. Meagher is a professional journalist with 30 years of experiencel For more than five
years, Mr. Meagher has covered the small and microcap stock brokerage industry for The Deal
Pipeline, a subscribers-only financial news journal published online by The Deal. Declaration of
William Meagher ("Meagher Decl.”) 112.l John and Justine Hurry own numerous businesses that
Operate in the micro-cap and small cap securities sector, including Scottsda]e. See Hurry v. FINRA,
No. CV~14-02490-P1-1X-ROS, 2016 U.S. Dist. LEXIS 90147, at "‘3 (D. Ariz. Apr. 1, 2016).
Between September 2013 and May 2015, Mr. Meagher researched and wrote a series of articles that

reported on Scottsdale’s involvement in stock manipulation schemes, a multi~million dollar stock

 

l “Small” and “microcap” refers to the relatively small market capitalization of the firms
whose stock is traded. Id. 112. Small and microcap stocks have traditionally presented much greater
risk for investor fraud than other stocks since there tends to be less publicly available information
and professional analysis than there would be for bigger companies Id.

 

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market fraud committed by Scottsdale clients and regulatory investigations into money laundering
schemes relating to Scottsdale’s Cayman lslands subsidiary
On September 13, 2013, The Deal Pipeline published an article written by Mr. Meagher

entitled “Finra targets a dozen offshore firms suspecting [sic] of trading in pump-and-dumps.”
Meagher Decl. Ex. B (the “September 13 Article”). The September 13 Article reported that FINRA
had identified trading records indicating that Scottsdale’s offshore clients may have used their
trading accounts to pelpetrate an illegal “pump-and-dump” scheme. Ia'.Ex. B at 2.2

On December 6, 2013, The Deai Pipeline published another article written by
Mr. Meagher entitled “FBI, securities officials investigating Scottsdale Capital, Alpine Securities,
source says” (the “December 6 Article”).3 Id. Ex. C. In the course of researching the December 6
Article, Mr. Meagher received credible information from confidential source(s) that Scottsdale was
being investigated by the FBI and financial regulators in connection with another pump-and-dump
scam carried out by Scottsdale customers Ial. 115. As reported in the December 6 Article,
Scottsdale clients based in Argentina orchestrated a 832 million fraud by selling artificially
overvalued stock in Biozoom, a medical instruments company, through their Scottsdale brokerage
accounts4 Ia'. Mr. Meagher’s confidential source(s) provided information about the investigation
and how Scottsdale had treated its Biozoom clients, which was reported in the December 6 Article.

Id.

 

2 In a pump and dump scheme, the owners of cheaply purchased stock artificially inflate the
stock’s price by making false or misleading statements to investors and then sell the stock off at a
profit at the expense of any investors still holding the worthless stock. Id. 1[3. Inexperienced and
relatively poor investors are often targeted and taken advantage of by the firms running these
schemes Ia’.

3 Alpine Securities is a Utah-based clearing firm controlled by Scottsdale that handles the
sale of stock by Scottsdale clients.

4 ln January 2015, a federal court sitting in the Southern District of New York found at least
six of Scottsdale’s Biozoom clients liable for violating securities law for their part in the Biozoom
pump and dump scheme. See SEC v, Tavelia, 77 F. Supp. 3d 353, 358-59 (S.D.N.Y. 2015). The
court ordered the guilty shareholders to disgorge millions of dollars of ill»gotten gains on top of
substantial civil penalties Id_ at 359~64.

 

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On March 20, 2014 and April 16, 2014, The Deal Pipeline published two more articles
by Mr. Meagher, which re~reported information about Scottsdale’s Biozoom clients that
Mr. Meagher obtained from his confidential source(s) and published in the December 6 Article (the
“March 20 Article" and “April 16 Article,” respectively). Id. Exs. D, E. The March 20 and
Aprii 16 Article also reported new developments in the Biozoom investigation and the April 16
Article reported on a separate money laundering investigation into Plaintiffs’ Cayman Islands
subsidiary Id. Although not mentioned in the Subpoena, on May 28, 2016, The Deal Pipeline
published an additional article by Mr. Meagher about the ongoing money laundering investigation,
which also repeated claims about Scottsdale’s Biozoom clients provided by Mr. Meagher’s
confidential source(s) (the “May 28 Article”). Id. Ex. F.

Mr. Meagher is a resident of California and works out of The Deal’s offices located in
Petaluma. Id. 12. The Articles were entirely researched, written, and edited in California. Id. All
newsgathering activities were conducted while l\/lr. Meagher was in California. Id. 118.

B. Plaintiffs’ Arizona Lawsuit against FINRA
The tortured history of the District of Arizona lawsuit that gave rise to the Subpoena at issue

here was helpfully summarized by the judge presiding over that case in her order dismissing with
prejudice all but two of the fourteen claims Plaintiffs initially lodged against FINRA. See Hurry,
2016 U.S. Dist. LEXIS 90147, at *3~4. Since the Hurrys operate securities firms that do business
with the public, Plaintiffs are subject to the regulatory authority of FINRA and other securities
regulators Id. In 2012, FINRA agents conducted a surprise inspection of Scottsdale’s
headquarters and seized numerous computers Id. According to Plaintiffs, “FINRA began a
campaign of escalating harassment against the Hurrys” shortly after the raid on Plaintiffs’ offices
was carried out. Id. (intemal quotation marks and citation omitted). As part of the alleged
campaign of harassment, Plaintiffs claim that FlNRA were responsible for “1eaking non-public,
confidential, and false and misleading information to a reporter for [Tlhe Deal Pipeiine, a financial
news and information service.” Ia'. In other words, Plaintiffs have alleged that a FINRA agent
improperly acted as Mr. Meagher’s confidential source for information relating to the investigation

into Scottsdale’s involvement in the fraud committed by its Biozoom clients.

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In November 2014, “the Hurrys and close to thirty of their companies” filed suit in the
United States District Court for the District of Arizona and brought a mix of fourteen state and
federal claims against FINRA and Scott Andersen, who was Fl`NRA’s Deputy Regional Chief
Counsel at that time (collectively, the “Defendants”). Id. at *4. Since Plaintiffs’ federal claims
predominated, the Arizona court initially exercised federal question jurisdiction over the Arizona
Action. Defendants filed a motion to dismiss Plaintiffs’ first amended complaint and, on August 5,
2016, “the Court dismissed all fourteen claims based on a variety of legal and factual theories."’ Id.
ln disposing of Plaintiffs’ first amended complaint, “[t]he Court granted leave to amend certain
claims but denied leave to amend others."' Id. Plaintiffs filed their second amended complaint on
August 28, 2015, which alleged the same fourteen state and federal claims Id. Defendants again
moved to dismiss [a’. On April 4, 2016, the Arizona court dismissed all of Plaintiff`s’ federal
claims for a second time and dismissed all but two of Plaintiffs’ state law claims Ia'. at *6-9. Since
there are no more federal claims before the Arizona court, its subject matterjurisdiction to
adjudicate the remaining state claims must be predicated either on diversity or pendent jurisdiction.

The two remaining Arizona state claims allege defamation and false light invasion of
privacy. Ia'. at *9. Plaintiffs’ theory of liability is that “Defendants were providing true
information to [Mr. Meagher] and, while doing so, Defendants were also providing [allegedly] false
information” that was reported in the Articles. Id. Assessing whether Plaintiffs’ claims fulfilled
the plausibility requirement of Federal Rule of Civil Procedure 12(b)(6), the Arizona court
expressed considerable doubt as to the validity of Plaintiffs’ claims Id. at *10. Although the
defamation and false light claims were ultimately deemed to have scraped past the plausibility
threshold, the Arizona court explicitly stated that ""this is a very close call. Only by drawing all
reasonable inferences in favor of Plaintiffs and giving Plaintiffs a very generous benefit of the
doubt are the defamation and false light claims barely plausible.” Ia’. Noting that it was “a stretch
to allow these claims to proceed,” the Arizona court made clear that it would “very carefully

circumscribe discovery to allow this case to quickly reach a resolution. Id. at *10-1 1.5

 

5 As part of its efforts to prune the Arizona Action of extraneous parties, the Arizona Court
dismissed the claims brought by all but four of the initial plaintiffs Arizona Action, Dkt. No. 156.
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In August 2016, proceedings before the District of Arizona were stalled by the withdrawal
from the case of Plaintiffs’ counsel, who had determined that they were “ethically required to
terminate their representation” ofPlaintiffs for undisclosed reasons Declaration of` John M.
Browning (“Browning Decl.”) 111, Ex. A. Although Plaintiffs were able to engage new counsel by
October 2016, the parties have nevertheless failed to keep up with the discovery schedule imposed
by the Arizona court on November 8, 2016. Id. jl2, Ex. B. Discovery is due to be completed by
l\/Iarch l, 2017, but a joint status report filed on February 16, 2017, reveals that “the major
percipient witnesses,” including Mr. Andersen and two fortner Scottsdale employees will not take
place until sometime later in March at the earliest Id.

C. Related Litigation against Mr. Meagher and The Deal

On May 261 2016, Plaintiffs opened up a second front of litigation through which Plaintiffs
sought to pressure Mr. Meagher into revealing the identity of his confidential source(s) for the
Articles. On that date, John Hurry and Scottsdale filed suit against Mr. Meagher and The Deal in
New York State Supreme Court and, in September, filed a complaint alleging that the l\/Iay 28,
2015 Article was defamatory (the “New York Complaint”). Id. 11113, 7, Ex. C. lt is clear from the
New York Complaint that Plaintiffs’ primary strategic purpose in the litigation was to coerce
Mr. Meagher into revealing his confidential source(s) in the hopes that this information would
bolster Plaintiffs’ case against FINRA in Arizona. To this end, Plaintiffs alleged - without any
identified factual or legal basis whatsoever - that Mr. Meagher’s confidential sources were
individuals “within FINRA or govemment regulatory agencies that have discussed confidential
information involving Plaintiffs” and that “the identity of such sources would not be protected by
the NYS ‘Shield’ laws” protecting the anonymity of confidential sources ]a'.

Since New York confers an absolute privilege against forced disclosure of the identity of a
confidential source The Deal and Mr. Meagher steadfastly refused to reveal the identity of any
confidential sources and notified Plaintiffs that they would file a motion to dismiss the New York

Complaint for failure to state a claim for defamation ]d. 115. Apparently frustrated by their

 

ln addition, the parties stipulated to withdraw the claims against defendant Andersen. Ia'., Dkt. No.
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inability to ferret out the confidential source(s), Plaintiffs turned instead to litigation
gamesmanship. Although they were fully aware that Defendants were filing a motion to dismiss
Plaintiffs waited to voluntarily dismiss the New York action, without warning, on the eve of
Defendants’ filing deadline. Id. 1[7. By doing so, Plaintiffs sandbagged Defendants into spending
considerable time and money on drafting motion papers that Plaintiffs had to know would be
unnecessary Ia'.

Less than a month later, on November 18, 2016, John Hurry and Scottsdale filed a separate
complaint against l\/lr. Meagher and The Deal with the Superior Court of New Hampshire, which
alleged that the December 9, March 20, and April 16 Articles gave rise to four claims:

(1) defamation, (2) false light invasion of privacy, (3) intentional interference with contractual
relations and (4) tortious interference with prospective economic advantage (the "`New Hampshire
Complaint”). [a’. 118. Since nothing in the Articles or Plaintiffs’ tortured litigation history has even
the remotest connection with New I-lampshire, the only plausible explanation for the New
I-Iampshire lawsuit is litigation gamesmanship and a desire to coerce Mr. Meagher into identifying
his confidential source(s).6 After removing the case to the United States District Court for the
District of New Hampshire, The Deal and Mr. Meagher moved to dismiss for lack of personal
jurisdiction That motion - which will be fully briefed on or before March 2, 2017 - is currently
pending Id. 1[9.

D. The Subpoena

Plaintiffs served Mr. Meagher with the Subpoena at issue here on February 14, 2017 -
nearly two and a half years after Plaintiffs commenced their lawsuit against FINRA. Meagher
Decl. 111. The Subpoena demands that Mr. l\/leagher appear for a deposition in San Francisco at

9:00 a.m. on March 1, 2017. The Subpoena also demands that Mr. Meagher produce at his

 

6 By filing suit in New Hampshire, Hurry and Scottsdale seek to profit from New
Hampshire’s three-year statute of limitations While the longer statute of limitations opens up a
libel suit to older articles barred by New York’s one-year statute of limitations the fact that they
abruptly withdrew the New York Complaint based on the May 28 Article containing substantially
the same allegedly defamatory statements belies that gamesmanship was the true purpose of the
exercise

 

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deposition all written communications and documents relating to his sources for the Articles Id.
Ex. A. It is evident that by this production and testimony that Plaintiffs intend to test their
remaining state-law claims in the Arizona Action that FINRA acted as Mr. Meagher’s confidential
source. ]d. Simply put, although Plaintiffs’ Arizona action has been pending since 2014 and they
had ample time to serve the Subpoena on Mr. Meagher, they have scheduled Mr. l\/leagher’s
deposition for the last day of the time allotted for discovery and have given him a mere two weeks’
notice, knowing full well that Mr. l\/leagher intends to assert his reporters’ privilege against
testifying See Browning Decl. lex. C at 3 (Joint Status Report indicating Plaintiffs anticipate “a
claim of ajoumalistic shield protection by Mr. Meagher”).7
ARGUMENT

Under the Federal Rules of Civil Procedure, “the court for the district where compliance is
required must quash or modify a subpoena that requires disclosure of privileged or other
protected matter or subjects a person to undue burden.” Fed. R. Civ. P. 45(d)(3)(A)(iii)-(iv).
For the reasons set forth more fully below, Mr. Meagher now moves to quash the Subpoena on the
grounds that California’s statutory Shield Law immunizes him from being compelled to testify and
that the qualified constitutional privilege prohibits forced disclosure ofconfidential information

obtained in the process of newsgathering.

 

7 ln addition to giving Mr. Meagher little time to respond to the Subpoena, Plaintiffs failed to abide
by Local Rule 30-1 of this Court, which requires a party noticing the deposition of a third-party
witness to meet and confer about scheduling Browning Decl. 1110. Counsel for Plaintiffs did not
contact counsel for l\/lr. Meagher until after Plaintiffs received a letter putting them on notice that
Mr. Meagher would move to quash the Subpoena. Id. Ex. 10, Ex. E. Plaintiffs’ attorneys contacted
counsel for Mr. Meagher for the first time on the morning before he was due to appear for
deposition. Id. 111 1. On that call, Plaintiffs offered to withdraw their document requests if Mr.
Meagher agreed to sit for deposition. Id. However, as counsel for Mr. Meagher explained, it
would violate Mr. Meagher’s rights as a journalist and exceed the ""very carefully circumscribe[d]
discovery" required in the Arizona Action to force Mr. Meagher to sit through a futile deposition at
which he would be privileged from disclosing any information pertinent to the Arizona Action. ld.
1112-13. F or these reasons Plaintiffs’ offer was rejected and this motion was filed in order to
safeguard Mr. Meagher’s rights Id. 1113.

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I. CALIFORNIA STATE LAW G()VERNS THE DISPOSI'I`ION OF

MR. MEAGHER’S MOTION TO QUASH

State law is controlling here because the only two causes of action that survived
Defendants’ motions to dismiss are Plaintiffs’ state law claims for defamation and false light
invasion of privacy, respectivelyl As the Ninth Circuit has stated, “Federal Rule of Evidence 501
provides that when a federal court hears a civil action in which state law provides the rule of
decision, ‘the privilege of a witness shall be determined in accordance with State law.”’ Star
Editoi'iai, fnc. v. United Siares Dist. Ci‘., 7 F.3d 856, 859 (9th Cir. 1993) (qaoiing Fed. R. Evid.
501 ). Given that state law provides the exclusive rule of decision in the Arizona Action and given
that the only possible grounds for federal subject matter jurisdiction are diversity or pendent
jurisdiction, “the state law of privilege applies” to determine whether Mr. Meagher is immune from
being compelled to provide testimony concerning Plaintiffs’ two surviving state law claims
Shaklcc Corp. v. sznell, 110 F.R.D. 190, 192 (N.D. Cal. 1986) (applying California reporters
shield to subpoena issued by District of Utah seeking evidence from California reporter for use in
libel case); see also Star Editorial, 7 F.3d at 859 (applying California reporters’ privilege to
defamation action removed to federal court because “[s]tate law will clearly provide the rule of
decision”); Bass v. First Pac. Neiworks Inc., 219 F.3d 1052, 1055 n.2 (9th Cir. 2000) (“[A] federal
court exercising supplemental jurisdiction over state law claims is bound to apply the law of the
forum state to the same extent as if it were exercising its diversity jurisdiction.”)_

California’s choice-of-law rules require this Court to apply California law in quashing the
Subpoena. As a threshold matter, the California choice-of-law analysis should be applied instead
of the Arizona equivalent. Courts have held that, “where the court hearing the discovery dispute
and the court hearing the underlying action differ, the court hearing the discovery dispute must
apply the choice of law rules of its forum,” Wr)lpin v. Philip Mcrris Inc., 189 F.R.D. 418, 423
(C.D. Cal. 1999); see also Mw'p)'iy v. Philip Mo)'ris lnc., CV 99-7155-RAP, 2000 U.S. Dist. LEXIS
21128, at *3-4 (C.D. Cal. Mar. 17, 2000) (“While Rule 501 of the Federal Rules of Evidence says
nothing about ‘which states privilege law to apply when state law controls and the litigation has

contacts with two or more states, the majority of circuits apply the privilege law of the state that

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would be chosen under the choice-of-law rules used by the state where the court sits.”) (auoting 3
Weinstein’s Federal Evidence § 501.02[3][b] (2d ed. 1999).

“California applies the ‘governmental interest’ analysis in choice-of-law questions” CRS
Recovery, ]nc. v. Laxton, 600 F.3d 1138, 1141-42 (9th Cir. 2010) (citation omitted). Under this
approach, “the forum will apply its own rule of decision unless a party litigant timely invokes the
law of a foreign state. 111 such event he must demonstrate that the latter rule of decision will further
the interest of the foreign state and therefore that it is an appropriate one for the forum to apply to
the case before it.” Woipin, 189 F.R.D. at 423 (intemal quotation marks and citations omitted).
Assuming Plaintiffs intend to invoke the law of Arizona, they must first demonstrate that “there is
in fact a conflict between the competing jurisdictions since there is obviously no problem where the
laws of the two states are identical.” Kennea!!y v. Bosa Cal. LLC, No. 09-CV-2039 WQH .lMA,
2011 U.S. Dist. LEXIS 57903, at *8 (S.D. Cal. May 26, 2011)(intema1 quotation marks and
citation omitted). For the reasons set forth in greater detail below, the respective California and
Arizona shield laws and constitutional reporters’ privileges both prohibit the Court from
compelling Mr. l\/leagher to disclose the identity of`his confidential source or the unpublished
information he obtained in the course of`his newsgathering activities See inj'a 13 n. 8, 18 n.11.
Since the choice of law makes no difference to the outcome, California law should apply.

But assuming arguendo that there are significant differences between the protections
conferred on reporters under Arizona and California law, California law should still apply because
California has the stronger interest in adjudicating this motion. “lf both jurisdictions have a
legitimate interest in the application of their conflicting laws, the court should apply the law of the
state whose interest would be the more impaired if its law were not applied.” Kenneally, 2011 U.S.
Dist. LEXIS 57903, at *8 (quoting 111 re Nucorp Energv Secs. Litig., 661 F. Supp. 1403, 1412 (S.D.
Cal. 1987)). Mr. Meagher is a California resident, who researched and wrote the Articles entirely
from California. Meagher Decl. 1112 8. The California Supreme Court has recognized the
importance of investigative journalists like Mr. Meagher “as a vital source of information.”
Mireheii, 37 Cal. 3d at 274 (quoting Zerilli v. Smith, 656 F.2d 705 (D.C. Cir. 1931)); see also N. Y.

Times, 51 Cal. 3d at 461 (applying California privilege against compelled disclosure from non-

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party journalist). The California Shield Law thus “refiects a strong interest in the Legislature and
the people of this state to afford newspersons the highest possible level of protection from
compelled disclosure of` confidential sources and confidential information.” Piayboy Enlers., Iric.
v. Superior Cl., 154 Cal App. 3d 14, 27 (1984)).

In light of these clearly articulated concerns over the ability of Californiajournalists to
protect their sources, the State of California has an extremely strong interest in protecting the
ability of one ofits citizens, Mr. l\/leagher, to continue his important work as an investigative
financial journalist without fear of being forced to surrender his confidential sources. See also
Murphy, 2000 U.S. Dist. LEXIS 21 128, at *4 (“California has a significant interest in ensuring that
its statutory provisions for confidentiality are vindicated”). Accordingly, California law governs
under the California governmental interest test.

Il. CALIF()RNIA’S STATUTORY REPORTERS’ SHIELD PROHIBITS

ENFORCEMENT OF THE SUBPOENA

The Subpoena must be quashed because it confers upon non-party journalists like
Mr. Meagher “virtually absolute protection against compelled disclosure” of unpublished
information relating to their newsgathering activitiesl Mi'lchel[, 37 Cal. 3d at 274; see also
N. Y. Times, 51 Cal. 3d at 461. This protection is enshrincd in both the California Constitution (art.
l, § 2, subd. (b)) and in a substantially identical statute (Cal. Evid. Code § 1070). The statutory
authority provides that “[a] reporter, or other person connected with or employed upon a
newspaper, magazine or any other periodical publication cannot be adjudged in contempt for
refusing to disclose the source of any information procured while so connected or employed for
publication in a newspaper, magazine or other periodical publication, or for refusing to disclose any
unpublished information obtained or prepared in gathering, receiving or processing of information
for communication to the public.” Cal. Evid. Code § 1070. For the purposes of applying the
statute, “any other periodical publication” has been interpreted to include online journals like The
Dea[ Pi`peline. See O’Grady v. Superior Cr., 139 Cal. App. 4th 1423, 1466 (2006) (holding that

California reporters’ shield applies to “online news magazine[s]”).

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The law specifically prohibits the Court from compelling Mr. Meagher to reveal this
information at Plaintiffs’ behest. As a full-time reporter employed by a prominent online financial
journa|, Mr. Meagher is clearly included in the class of people protected by the California Shield
Law. Meagher Decl. ‘ll‘HZ, 8. Moreover, the Subpoena calls exclusively for information “obtained
or prepared in gathering” news, since Plaintiffs seek to compel l\/lr. l\/leagher to reveal confidential
information he collected in the course of researching and writing the Articles. lal. 119, Ex. A
(Subpoena). Having met the statutory requirements, Mr. Meagher cannot be compelled to comply
with the Subpoena by the threat or execution of a contempt judgment See N. Y. Ti`mes, 51 Cal. 3d
at 461 (“We find nothing in the shield law’s language or history to suggest the immunity from
contempt is qualified such that it can be overcome by a showing of need for unpublished
information within the scope of the shield law.”); Playboy, 154 Cal App. 3d at 27 (“order
compelling production of petitioner’s source materials and editorial drafts and working papers is
not enforceable by contempt. . .”) (quoting Mz`tchell, 37 Cal. 3d at 274). As the California Supreme
Court explained, “[s]ince contempt is generally the only effective remedy against a nonparty
[journalist], the California enactments grant such witnesses virtually absolure proreclion against
compelled disclosure_” N. 1’. Tfmes, 51 Cal. 3d at 461. At bottom, the Shield Law provides Mr.
Meagher with an “absolute rather than a qualified immunity” against compelled disclosure of
unpublished newsgathering materials in civil cases, which bars the Court from compelling
Mr. Meagher to comply with the Subpoena. la'.; see also Mr`ller v. Superior Ct., 21 Cal. 4th 883,
890 (1999) (“The shield law is, by its own terms, absolute rather than qualified in immunizing a
newsperson from contempt for revealing unpublished information obtained in the newsgathering

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process.”).

 

8 For the same reasons, Mr. Meagher would be entitled to an absolute privilege against
compelled disclosure under Arizona’s statutory reporters’ shield. That statute provides that a
“person engaged in reportorial work, or connected with or employed by a newspaper shall
not be compelled to testify or disclose in a legal proceeding the source of information procured
or obtained by him for publication in a newspaper with which he was associated or by which he
is employed.” Ariz. Rev. Stat. § 12-2237; see also Mafera v. Superi'or Ct., 170 Ariz. 446, 449
(Ariz. Ct. App. 449) (Arizona reporters’ shield statute “protects members of the media from being
compelled to testify about or otherwise disclose confidential sources utilized during the
newsgathering process”). `

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The fact that California courts have construed the statutory reporters’ shield narrowly as “an
immunity from contempt, not a privilege” does not divest this Court of its power to quash the
Subpoena. N. Y. Tz'mes, 51 Cal. 3d at 459. In New York Times, the California Supreme Court
determined that it was premature for a non-party journalist to move for relief under the Shield Law
before the “newsperson has been adjudged in contempt.” Id. ln light of this precedent, it is likely
that Plaintiffs will attempt to argue that Mr. Meagher should allow himself to be found in contempt
of court before seeking relief. However, invoking such procedure would result in the very same
end game: the ultimate quashing of the subpoena and an order preventing Mr. Meagher’s
testimony and production The F ederal Rules of Civil Procedure “Should be construed,
administered and employed by the court to secure the just, speedy, and inexpensive
determination of every action and proceeding” Fed. R. Civ. P. 1. Subject to this overarching
principle, the same rules also dictate that the Court “must quash a subpoena that subjects a
person to undue burden.” la'. 45(b)(3)(A)(iv). The spirit and substance of these rules dictate that
the Court grant this Motion in order to liberate Mr. Meagher from the undue burden of placing
himself at risk of imprisonment or other sanctions stemming from his entirely justified refi.lsal to
comply with the Subpoena. Moreover, by declining to quash the Subpoena at this juncture on the
basis of a procedural technicality, the Court would reward Plaintif`fs’ campaign of litigation
gamesmanship, which has already saddled Mr. l\/leagher and his employer with the considerable
effort and expense of defending two meritless defamation lawsuits. See Browning Decl. 1114-9.

In sum, the California Shield Law vests Mr. Meagher with protections that amount to an
absolute privilege against being compelled to testify about his confidential sources or to produce
his unpublished newsgathering materials In order to vindicate l\/Ir. l\/Ieagher’s rights without
forcing him to jump through needless procedural hoops, the Court should fulfil the guarantees of

the California Shield Law by taking this opportunity to quash the Subpoena.

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III. THE REPORTERS’ PRIVILEGE ESTABLISHED UNDER THE FEDERAL AND

CALIFORNIA CONSTITUTIONS INDEPENDENTLY REQUIRES THE COUR'I`

TO QUASH THE SUBPOENA

Even assuming for purposes of this motion that the California state privilege does not
effectively bar enforcement of the Subpoena (it does), a qualified constitutional privilege
independently prohibits Plaintiffs from compelling Mr. Meagher to identify his confidential
source(s) or turn over his unpublished journalistic work product

The United States Supreme Court has recognized that journalists have “constitutional rights
with respect to the gathering of news or in safeguarding their sources.” Branzburg v. Hayes, 408
U.S. 665, 709 (1972) (Powell, J., concurring). Drawing on this constitutional right, the California
Supreme Court has held that “in a civil action a reporter, editor, or publisher has a qualified
privilege to withhold disclosure of the identity of confidential sources and of unpublished
information supplied by such sources.” Mifchell, 37 Cal. 3d at 279. The California Supreme Court
also stressed that compelled disclosure from a non-party journalist “should by no means be
automatic in libel cases” such as this. ld. at 280. Rather, a rigorous showing is required to
overcome the qualified privilege, which will “depend upon the consideration and weighing of a
number of interrelated factors.” Ia'. at 279. For the reasons that follow, the Subpoena must be
quashed because Plaintiffs are unable to shoulder their burden as to any of the five relevant factors

identified by the California Supreme Court in if‘w'ili:liell.9

 

9 Although federal law does not apply here with respect to the scope of Mr. Meagher’s
privilege, cases applying the federal analogue to Califomia’s qualified reporter’s privilege are
nonetheless instructive since, as one court noted, “California law and federal common law appear
to coincide.” Los Angeles Mem ’l Coli'seam Comm ’n v. NFL, 89 F.R.D. 489, 495 (C.D. Cal. 1981).
Accordingly, the Ninth Circuit has articulated a substantially similar qualified privilege under the
First Amendment. Under this formulation, a litigant may overcome the reporter’s privilege “only
upon a showing that the requested material is: (1) unavailable despite exhaustion of all reasonable
sources; (2) noncumulative; and (3) clearly relevant to an important issue in the case.” Shoen v.
Shoen, 48 F.3d 412, 416 (9th Cir. 1995) (“Slioen Il”). Consistent with the practice of California
courts, federal courts apply this test strictly to “ensure that compelled disclosure is the exception,
not the rule.” ld. See also Zeri'lli, 656 F.2d at 712 (“[I]f the privilege does not prevail in all but the
most exceptional cases, its value will be substantially diminished.”). For the same reasons
Plaintiffs cannot overcome the California qualified privilege set forth below, Plaintiffs would also
be unable to overcome the federal common law privilege, assuming arguendo that it applied

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M, the law strongly disfavors compelling non-party journalists like l\/Ir. l\/leagher to
testify since “the scope of the privilege depends on whether the reporter is a party.” la'. While
disclosure may be appropriate in civil cases “when the reporter is a party to the litigation,” the
California Supreme Court has excluded non-party journalists from this category and suggested that
the qualified privilege bars compelled disclosure against non-parties even if other factors weigh
against imposing the qualified privilege. Id. at 279 (“In California, where a shield law prevents the
use of contempt to enforce disclosure orders . .. compelling disclosure from a nonparty reporter
may be impractical even in a case in which other considerations argue in favor of disclosure.”). ln
any event, it is clear that the non-party status of a journalist “obviously favors nondisclosure.”

O 'Gracly, 139 Cal. App. 4th at 1469. Accordingly, the fact that Mr. Meagher is not a party to the
Arizona Action weighs heavily (if not dispositively) in favor of quashing the Subpoena.

§:co_nd, the law imposes - and courts routinely enforce - a stringent requirement that
"‘discovery should be denied unless the plaintiff has exhausted all alternative sources of obtaining
the needed information.” Mi'!cliell, 37 Cal. App. 3d at 282; see also O ’Graa'y, 139 Cal. App. 4th at
1471 (failure by the party seeking disclosure to demonstrate that he or she has “exhausted all
alternative sources of obtaining the needed information weighs decisively against disclosure”)
(internal quotation marks and citation omitted). Courts applying the essentially identical federal
qualified privilege exhaustion requirement have also refused to enforce subpoenas for failure to
demonstrate exhaustion of alternate sources of information See, e.g., Shoen v. Shoen, 5 F.3d 1289,
1297-98 (9th Cir. 1993) (“Slioen l”) (privilege barred enforcement of subpoena served on author
where party had not deposed the “most patently available other source”); Comlz'r v. National
Enam`rer, lnc., 289 F. Supp. 2d 1175, 1181 (E.D. Cal. 2003) (noting that “[t]he failure to exhaust
alternative sources is a crucial and necessary condition, and therefore, is dispositive” and holding
that “[b]ecause the condition of exhaustion has not been met, the protection from disclosure
remains intact”); Michael v. Estate of Kovarbasich, No. CV 15-00275-1\/1WF (ASx), 2015 U.S.
Dist. LEXIS 168901, at *10-11 (C.D. Cal. Dec. 11, 2015) (refusing to compel production of
newsgathering materials for failure to exhaust alternate sources of information). At bottom,

‘-‘compulsory disclosure of sources is the last resort, permissible only when the party seeking

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disclosure has no other practical means of obtaining the information.” Mz`tcl'iell, 37 Cal. 3d at 282
(internal quotation marks and citations omitted).

Here, the joint status report filed in the Arizona Action reveals that none of "'the major
percipient witnesses" in the case have been deposed yet, including the FINRA agent responsible for
allegedly harassing Plaintiffs, other FINRA employees with knowledge of its investigation and
several former employees of Scottsdale. Browning Decl. 112, Ex. B. Plaintiffs certainly cannot be
permitted to depose Mr. Meagher before testing their theory that FlNRA was a confidential source
by deposing the FINRA agent and others with knowledge of the regulatory investigations into
Scottsdale’s involvement into market fraud committed by its clients, which was the subject of Mr.
Meagher’s Articles. m Simply put, in “the absence of a showing that alternative sources had been
exhausted,” Plaintiffs’ Subpoena must be quashed Mirclrell, 37 Cal. 3d at 284.

M, since this Court “should consider the importance of protecting confidentiality in the
case at hand,” the public importance of Mr. Meagher’s reporting on Scottsdale’s involvement in
major financial fraud weighs heavily against enforcing the Subpoena. ld. at 282. As the California
Court of Appeal has explained, the “investigation and revelation of hidden criminal or and
unethical conduct is one of the most important roles of the press in a free society - a role that may
depend upon the ability of the press and the courts to protect sources who mayjustifiahly fear
exposure and possible retaliation.” ld. at 283. Here, the confidential source(s) contributed
pertinent information that was included in Articles about a then-ongoing investigation into
Scottsdale’s involvement in a multi-million dollar fraud perpetrated by its clients. Meagher Decl.
Exs. C, D, E. Moreover, the scorched earth litigation tactics Plaintiffs have advanced against Mr.
Meagher and The Deal thus far give rise to a real possibility that Mr. Meagher’s confidential
source(s) would be subject to retaliation if his or her identity became known. Since the

“information [at issue] relates to matters of great public importance” and “the risk of harm to the

 

m Of`course, Mr. Meagher could not be compelled to testify on the grounds that another
person might waive his privilege by disclosing the identity of a confidential source. “The
journalist’s privilege belongs to the journalist alone and cannot be waived by persons other than the
journalist.” Los Angeles Mem `l Coli`seum, 89 F.R.D. at 494.

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source is a substantial one, the court may refuse to require disclosure even though [Plaintiffs have]
no other way of obtaining essential information.” Mirclrell, 37 Cal. 3d at 283.

Mrth, Plaintiffs cannot show that the vast majority of the information sought by the
Subpoena “goes to the heart” of their claim, as they are required to do in order to overcome
l\/lr. Meagher’s qualified privilege lal. at 281. At this point, the Arizona Action turns entirely on
whether defendant FINRA was Mr. Meagher’s source, since Plaintiffs’ defamation and false light
claims against FINRA are only actionable if F[NRA made the allegedly libelous statements
reported in the Articles. 1n this context, Mr. l\/leagher’s testimony is relevant only to the extent to
which he can confirm or deny that FINRA was his confidential source. The qualified privilege thus
precludes the Court from enforcing the Subpoena to the extent that it calls for information unrelated
to Mr. Meagher’s alleged conversations with FINRA. Since the “discovery sought by [P]laintiffs is
quite broad, and is not limited to sources whose information relates to the alleged libelous
statements,” Mr. Meagher’s qualified privilege bars compelled disclosure of the vast majority of the
testimony and materials demanded by the Subpoena. lcl. at 282. Moreover, depending on whether
the party depositions substantiate or disprove Plaintiffs allegations that FINRA was Mr. Meagher’s
confidential source, l\/lr. Meagher’s testimony may be “merely cumulative” and thus not subject to
compelled discovery. United States v, Burke, 700 F.2d 70, 77-78 (2d Cir. 1983); see also Shoen Ll,
48 F.3d at 417 (federal qualified privilege bars compelled disclosure when “the requested material
is cumulative”).

Fifth land finally !, Plaintiffs cannot compel Mr. Meagher to comply with the Subpoena
unless they can “make a prima facie showing that the alleged defamatory statements are false.”
Mr`tcl'iell_. 37 Cal. 3d at 283. The California Supreme Court explained that the falsity of statements
at issue in a defamation claim “should be drawn into question and established as ajury issue before
discovery is compelled because to routinely grant motions seeking compulsory disclosure without
first inquiring into the substance of a libel allegation would utterly emasculate the fundamental
principles [of First Amendment jurisprudence]."' Ia'. at 283 (internal quotation marks and citations
omitted). Simply put, Plaintiffs must set forth evidence demonstrating the falsity of the statements

in the Articles attributed to Mr. Meagher’s confidential source(s) before proceeding to enforce the

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Subpoena. Plaintiffs have so far failed to do this and must remedy the defect with the benefit of
discovery in the Arizona Action before enforcing the Subpoena against Mr. l\/Ieagher.ll

In sum, since Plaintiffs are unable to satisfy any of the five elements required to overcome
the qualified constitutional privilege that immunizes Mr. Meagher from compelled disclosure, the
Subpoena must be quashed.
IV. CONCLUSION

Because California’s Shield Law makes it impossible to compel Mr. Meagher to comply
with the Subpoena and because Plaintiffs cannot satisfy the stringent test necessary to unseat the
qualified privilege enshrined in the California and Federal constitutions, Mr. Meagher respectfully
requests that this Court quash the Subpoena.

Dated: February 28, 2017 DAvlS WRIGHT TREMAINE LLP

THOMAS R. BURKE
ELIZABETH A. MCNAMARA ro hac vice forthcoming)

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Attomeys for Non-Party Journalist William Meagher

 

 

Thomas R. Burke

 

ll Mr. Meagher would also enjoy a constitutional privilege against compelled disclosure if
Arizona law applied here (which it does not). The Arizona Court of Appeals has recognized the
existence of a federal constitutional privilege for newsgathering. Matera, 170 Ariz. at 449. Under
this version of the constitutional privilege, courts are empowered to grant a motion to quash when
“compliance with a subpoena would either result in disclosure of confidential information or
sources or would seriously interfere with the news gathering and editorial process.” Bar!lell v.
Superz'or Ct., 150 Ariz. 178, 182 (Ariz. Ct. App. 1986). Mr. Meagher would be privileged from
complying with the Subpoena under this rubric.

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